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                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


  UNITED STATES OF AMERICA,

                Plaintiff,

  v.                                                      Case No. 11-20129
                                                          Case No. 11-20006
  SCOTT WILLIAM SUTHERLAND ET AL.,

             Defendants.
  _______________________________/

   MEMORANDUM OPINION FURTHER ADDRESSING THE FREEMAN OBJECTIONS
        TO SPECIAL AGENT WILLIAM FLEMING’S OPINION TESTIMONY

         During the course of this trial, Special Agent William Fleming has provided fact

  and opinion testimony pursuant to Rule 701. On October 22, 2014, defense counsel

  raised a foundational objection, based on their interpretation of United States v.

  Freeman, 730 F.3d 590 (6th Cir. 2013), to Special Agent William Fleming’s testimony

  related to recordings of phone calls that were entered into evidence and played to the

  jury. (Dkt. # 1073, Pg. ID 6034.) On October 27, 2014, defense counsel asserted a

  continuing objection to Agent Fleming’s opinion testimony related to the recordings.

  (Dkt. # 1075, Pg. ID 6673-74.) Defense counsel has raised additional Freeman-based

  objections to Agent Fleming’s testimony throughout the trial. The court ruled on the

  objections and provided counsel with its reasoning for such rulings on the record. This

  memorandum opinion further explains the differences between improper testimony in

  Freeman and the testimony admitted in the instant case. Part I of this opinion analyzes

  Freeman and distinguishes Agent Fleming’s testimony from the improper testimony in

  Freeman on the grounds that Agent Fleming’s (1) was based on his personal knowledge
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  and (2) did not infringe on the role of the jury by offering conclusive interpretations of the

  recordings. Part II reviews Agent Fleming’s testimony related to audio recordings

  through November 17, 2014.

         For the reasons stated on the record and discussed below, Agent Fleming’s lay

  opinion testimony related to the recordings has been properly admitted. His testimony

  is distinguishable from the improper testimony in Freeman because: (1) Agent Fleming’s

  testimony is based on his personal knowledge; (2) the court has repeatedly instructed

  the jury that it is the jury’s responsibility alone to draw conclusions about the meaning

  and significance of the recordings; and (3) the jury was informed of the bases for Agent

  Fleming’s testimony, thus making it possible for the jury to evaluate the reliability of his

  testimony.

                              I. The Dual Concerns of Freeman

         A witness may provide opinion testimony under Rule 701, so long as the party

  seeking to admit the opinion testimony has established that the foundational

  requirements set forth in Rule 701 are met. Freeman, 730 F.3d at 595-96. Rule 701

  provides:

          If a witness is not testifying as an expert, testimony in the form of an opinion
          is limited to one that is: (a) rationally based on the witness’s perception; (b)
          helpful to clearly understanding the witness’s testimony or to determining a
          fact in issue; and (c) not based on scientific, technical, or other specialized
          knowledge within the scope of Rule 702.

  Fed. R. Evid. 701. “If a witness’s testimony fails to meet any one of the three

  foundational requirements, it is not admissible.” Freeman, 730 F.3d at 596.




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         In Freeman, the Sixth Circuit held that a Federal Bureau of Investigation (“FBI”)

  agent’s lay opinion testimony interpreting the meaning of recorded phone calls was

  improper because (1) the prosecution did not establish a proper foundation for his

  testimony under Federal Rule of Evidence 701 and (2) his testimony infringed on the

  role of the jury by offering conclusive interpretations of the meaning of the recordings.

  Freeman, 730 F.3d at 596-99. In that case, a defendant convicted of conspiracy to use

  interstate commerce facilities in the commission of murder for hire, 18 U.S.C. § 1958,

  appealed from his conviction on the ground, inter alia, that the district court erred by

  permitting FBI Special Agent Peter Lucas to provide lay testimony interpreting the

  meaning of statements made during phone calls that were intercepted by the FBI and

  played to the jury. Id. at 592. Agent Lucas’s “testimony ranged from voice and

  nickname identifications to substantive interpretations of the meaning of the various

  statements.” Id. at 594.

         The Sixth Circuit vacated the conviction after concluding that the prosecution did

  not establish that the agent had sufficient personal knowledge for his opinion testimony

  to meet the requirement set forth in Rule 701(a) because (1) the government conceded

  at oral argument that the agent “lacked the first-hand knowledge required to lay a

  sufficient foundation for his testimony under Rule 701(a);” (2) the agent “did not testify to

  being present for the surveillance, or even to observing any activity relevant to

  interpreting the calls;” and (3) the agent “never specified personal experiences that led

  him to obtain his information, but instead, repeatedly relied on the general knowledge of

  the FBI and the investigation as a whole.” Id. at 596-97. The jury was, therefore, “left to



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  trust that he had some information . . . unknown to them . . . that made him better

  situated to interpret the words used in the calls than they were.” Id. at 597.

         The Freeman court also concluded that, by “dr[awing] conclusions from the

  phone calls the jury heard as well as from thousands of other phone calls and FBI

  evidence the jury had no access to . . . , [the agent] infringed upon the role of the jury to

  decide what to infer from the evidence, and instead told them what conclusions and

  inferences to draw.” Freeman, 730 F.3d at 598. The court noted that Agent Lucas

  “effectively spoon-fed his interpretations of the phone calls and the government’s theory

  of the case to the jury, interpreting even ordinary English language.” Id. at 597.

         Agent Fleming’s testimony avoids both of the defects identified in Freeman.

  First, whereas in Freeman the government conceded that Agent Lucas lacked personal

  knowledge and the record was devoid of any “personal experience that led him to obtain

  his information,” the record in the instant case establishes that Agent Fleming was

  significantly involved with the surveillance that produced the recordings as well as the

  underlying activities discussed in the recordings. Agent Fleming testified that he first

  became aware of the Devils Diciples’ activities in 2004 through his communications with

  confidential informants (Dkt. # 1070, Pg. ID 5172); he has been serving as the case

  agent responsible for the overall investigation of the instant case against the Devils

  Diciples; and he participated in three controlled purchases of methamphetamine in this

  case (Dkt. # 1073, Pg. ID 5968), surveillance activities (Dkt. # 1076, Pg. ID 6878), and

  the execution of multiple search warrants of properties associated with the Devils

  Diciples. (See Dkt. # 1070, Pg. ID at 5187, 5194, 5198-99, 5249). Likewise, as



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  discussed below, Agent Fleming regularly provided additional testimony reaffirming the

  bases for his opinion testimony.

         Second, the majority of Agent Fleming’s testimony does not implicate Freeman’s

  “conclusive interpretation” defect because it offers the jury context for the recordings to

  aid the jury in drawing their own conclusions. A minority of Agent Fleming’s testimony

  concerns the meaning of particular phone calls. Under an overly literal reading of

  Freeman, some of this testimony may be improper to the extent that it interprets the

  meaning of “ordinary language.” Freeman, 730 F.3d at 598 (“[A] case agent testifying

  as a lay witness may not explain to a jury what inferences to draw from recorded

  conversations involving ordinary language.”) However, the “conclusive interpretation”

  defect is inextricably intertwined with the underlying foundational defect and flows

  directly from the fact that the Freeman jury was unable to evaluate the reliability of

  Agent Lucas’s testimony because it had not been presented with the bases for his

  opinion. Ignorant of the bases for Agent Lucas’s testimony, the jury could not use the

  testimony as an aid in drawing its own conclusions about the recordings, see Fed. R.

  Evid. 701(b); rather, it was left to choose only between adopting his interpretation or

  ignoring it. See id. (“[H]is testimony [was] no longer evidence but bec[ame] argument.”)

  Furthermore, Agent Lucas “effectively told the jury that they were not as qualified as he

  to interpret the phone calls.” Id. at 598-99 (quoting the agent’s testimony that it is

  “possible” that the jury could reach a different conclusion if they listened to all of the

  phone calls, but warning that, unlike his interpretations, the jury’s interpretations “would

  not be based on 15 years of experience in the FBI”).



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         The minority of Agent Fleming’s testimony that interprets ordinary language

  contained in recordings is distinguishable from the improper testimony in Freeman.

  Whereas the jury in Freeman had no means to evaluate the testifying agent’s opinion,

  Agent Fleming informed the jury as to the bases for his understanding of the recordings,

  which therefore permitted the jury the opportunity to evaluate his testimony and draw

  their own conclusions. Furthermore, the court instructed the jury multiple times that

  Agent’s Fleming’s opinions about the meanings of the recordings are merely his

  opinions, and it is the jury’s responsibility to draw its own conclusions about what the

  recordings mean.*1 In sum, Agent Fleming’s testimony related to the recorded

  conversations in the instant case is distinguishable from the testimony provided by the

  agent in Freeman because Agent Fleming’s testimony was based on his personal

  knowledge and perceptions, as required under Rule 701(a) and (c); it was offered to

  help aid the jury in drawing its own conclusion about the meaning of the recordings, as

  required under Rule 701(b); the jury is capable of evaluating the reliability of his

  testimony and drawing its own conclusion based on the evidence because it has been

  informed about the bases for Agent Fleming’s opinions; and the court has repeatedly

  instructed the jury that it is the jury’s role to draw conclusions about the meaning of the

  recordings.




         *
          In order to enhance readability, this memorandum order utilizes endnotes
  instead of footnotes.

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                                II. Agent Fleming’s Testimony

         This Part discusses defense counsel’s Freeman objections as they relate to

  Agent Fleming’s specific testimony. Section II.A recounts Agent Fleming’s introductory

  foundational testimony; Section II.B addresses his testimony prior to defense counsel’s

  Freeman objection; Section II.C reviews Agent Fleming’s various testimony that

  provides helpful context to the recordings; and Section II.D covers his opinion testimony

  interpreting particular statements and conversations.

         A. Introductory Foundational Testimony

         During Agent Fleming’s direct examination, the government moved to admit,

  “based upon the understanding of all parties,” audio recordings (Exhibits R-1 through R-

  12), a summary exhibit of the audio recordings (Exhibit R), wiretapped calls (Exhibits T-

  1 through T-333), a summary exhibit of the wiretapped calls (Exhibit T), and transcripts

  of the audio recordings and wiretapped calls (Exhibits R-1A through R-12A and T-1A

  through T-333A).2 (Dkt. # 1073, Pg. ID 5970-75.) The government then solicited

  testimony from Agent Fleming about his personal knowledge of these recordings.

  Agent Fleming stated that he listened to all of the intercepted calls that were relevant to

  this case, (Dkt. # 1070, Pg. ID 5271) and he described the process he used to monitor

  one of the wiretapped phones:

         The phone is monitored by an agent. It comes up on a computer screen
         when either there’s an incoming call or Mr. Darrah makes an outgoing call.
         It tells you what phone number he’s, he’s calling or is calling him. You then
         can listen for an initial two-minute period. If after two minutes, you realize that
         the call is not related to criminal activity, we hit a button that minimizes or
         turns off the recording that we then can listen to.




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         If, after two minutes, we make a determination that the call is criminal in
         nature, we can continue to listen for the call -- to the call. But if, later on in
         that call, it becomes non-criminal, we then minimize it again, which does not
         allow us to hear what’s going on.

  (Dkt. # 1070, Pg. ID 5271-72.)3

         Agent Fleming also provided testimony about the nature of the non-wiretap audio

  recordings. He stated that Exhibit R-2 is a recording made during a controlled buy on

  August 4, 2007 (Dkt. # 1073, Pg. ID 5978), Exhibit R-3 is a telephone conversation that

  occurred while agents were present with a cooperating call participant (Id. at 5980), and

  Exhibit R-5 was a recording of a Devils Diciples “church meeting” on October 3, 2007.

  (Id. at 5982.) He further provided an in-depth description of his personal involvement in

  obtaining and surveying Exhibit R-5.4 Throughout the course of trial, the government

  has solicited additional foundational testimony to demonstrate Agent Fleming’s personal

  knowledge when necessary. This additional foundational testimony is discussed below.

         B. Testimony Prior to Defense Counsel’s Freeman Objection

                i. Testimony about Exhibit R-5 and the False Tailpipe

         After testifying to his personal knowledge of the recordings and wiretapped

  phone calls, Agent Fleming testified about the content of some of the recordings. First,

  he testified that he selected two portions of Exhibit R-5 for trial: a “portion where Mr.

  Rich and Mr. Pizzuti discuss the future purchase of methamphetamine” and “a portion of

  the meeting with Mr. Smith, Mr. Darrah and other members of the Devils Diciples.” (Dkt.

  # 1073, Pg. ID 5984-85.) Regarding the portion involving Vern Rich, Agent Fleming

  stated: “Well, there’s two main things, both associated with the purchase of

  methamphetamine. First, Mr. Pizzuti is trying to determine if Mr. Rich is ready, meaning


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  does he have methamphetamine to purchase. Mr. Rich says that he’s low, but that he

  had just given $60,000 to someone to re-up, which means to replenish his supply of

  methamphetamine.” (Id. at 5985.) The government then inquired about an exhaust

  pipe mentioned during the recording. Agent Fleming explained, “Mr. Rich, during this

  conversation with Mr. Pizzuti, advised that he had a false tailpipe on his motorcycle that

  he used to transport, in this particular case, money.” (Id.)

         Defense counsel objected to Agent Fleming’s summarizing of the recording and

  suggested that the government play the tape instead. (Dkt. # 1073, Pg. ID 5985.) The

  government responded that, “because of the length of this particular recording, and the

  way in which the recording is so rapid, [the purpose of Agent Fleming’s testimony is] to

  give context and make it less confusing for the jury when they hear it.” (Dkt. # 1073, Pg.

  ID 5985.) The court overruled the objection finding that defense counsel’s concerns

  would be addressed in the course of the testimony. (Dkt. # 1073, Pg. ID 5986.)

  Following the objection, Agent Fleming proceeded to testify as to the significance of the

  tailpipe, stating, “The significance was, it was used to transport large amounts of money

  and large amounts of methamphetamine, as a way to disguise it or to deter law

  enforcement from finding it.” (Dkt. # 1073, Pg. ID 5987.)

         In Freeman, the jury was asked to rely on the agent’s opinion without being

  presented with the evidence on which the agent based his opinion; meanwhile, here,

  the jury was presented with all of the necessary evidence to evaluate the reliability of

  Agent Fleming’s testimony and to draw its own conclusions about the content of the

  recording.5

                ii. Testimony to which Counsel Did Not Object

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         After the court overruled defense counsel’s initial objection to Agent Fleming’s

  testimony summarizing Exhibit R-5 instead of playing the recording, the government

  played a number of recordings—including Exhibit R-5—to the jury, and Agent Fleming

  testified as to his opinion about the content of the recordings.6 Defense counsel did not

  object to any of this testimony. Only after Agent Fleming had concluded his testimony

  about the recordings cited in Footnote 6 and after he had been subject to cross

  examination, defense counsel for Vincent Witort “object[ed] to the continued testimony

  of Officer Fleming as it relates to his giving his opinion after interpreting the phone calls”

  based on Freeman. (Dkt. # 1073, Pg. ID 6034.) The government interpreted the

  objection as an oral motion to strike Agent Fleming’s testimony (see Dkt. # 1074, Pg. ID

  6182) and filed a response on October 23, 2014. (Dkt. # 1053, Pg. ID 5146.) Defendant

  Witort filed a reply on October 27, 2014 (Dkt. # 1061, Pg. ID 5227), and the government

  and Witort’s counsel orally provided their interpretations of Freeman and its application

  to Agent Fleming’s testimony during trial. (Dkt. # 1075, Pg. ID 6663-77.)

         The court denied Witort’s motion to strike, in part, because Witort’s counsel did

  not raise a timely objection to Agent Fleming’s testimony. (Dkt. # 1075 6670, 6677.)

  Pursuant to Federal Rule of Evidence 103(a), “[a] party may claim error in a ruling to

  admit or exclude evidence only if the error affects a substantial right of the party and: (1)

  if the ruling admits evidence, a party, or the record: (A) timely objects or moves to strike;

  and (B) states the specific ground, unless it was apparent from the context . . . .” Fed.

  R. Evid. 103(a) (emphasis added). “As a matter of policy, the objection requirement of

  Fed. R. Evid. 103 is intended to allow the trial court to fix errors in its decision to admit

  or exclude evidence on the spot, thus preventing errors that could easily be alleviated

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  without recourse to the appellate courts.” Gates v. City of Memphis, 210 F.3d 371 (6th

  Cir. 2000). The court had no opportunity to consider whether the testimony summarized

  in Footnote 6 was proper before it was presented to the jury because defense counsel

  did not object to the testimony. Moreover, even if some of Agent Fleming’s initial

  testimony interpreting recordings raised the concerns discussed in Freeman, such

  concerns would be minimized by the court’s repeated instructions to the jury to draw its

  own conclusions based on the evidence and by Agent Fleming’s well-documented

  personal knowledge of the audio recordings and their underlying activities.

        After the court denied Witort’s motion to strike, his counsel asserted a “continuing

  objection to Mr. Fleming’s testimony regarding his lay opinion of phone calls.” (Dkt. #

  1075, Pg. ID 6674.)

        C. Testimony Providing Context

        Over the course of trial, Agent Fleming has continued to provide testimony to

  assist the jury in understanding the recordings. Most of his testimony was offered to

  provide context about the recordings to make them easier for the jury to understand.

  This contextual testimony was based on Agent Fleming’s personal review of the

  recordings and his hands-on role in the investigation, and it does not implicate the

  concern expressed in Freeman of hijacking the fact-finding role reserved for the jury.

  The contextual testimony includes (1) background testimony about the time and

  participants of the wiretapped phone calls, as well as background testimony about

  activities related to the recordings; (2) testimony about Devils Diciples’ members

  referenced in the recordings, such as nicknames, given names, whether individuals



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  were members of motorcycle clubs, and the meaning of certain Devils Diciples terms;

  and (3) the FBI’s activities in response to hearing the recordings.

                i. Background Testimony about the Wiretapped Phone Calls

         First, much of Agent Flemings commentary about the recordings was about the

  date, time, and participants of the phone calls (see, e.g., Dkt. # 1076, Pg. ID 6846-47,

  6849); whether particular recordings occurred in close temporal proximity to other

  recordings published to the jury (see, e.g., id. at 6848, 6850-51, 6854); and background

  events related to the recordings. (Jury Trial, Volume XV at 99.) When identifying the

  participants of certain phone calls, Agent Fleming testified regarding his personal

  knowledge about the identity of the voices on the recordings.7 (Dkt. # 1076, Pg. ID

  6838-42.) Likewise, before playing calls related to the Next of Kin, Agent Fleming

  testified that “Next of Kin was a riding club or an RC that wanted to become an MC or a

  motorcycle club. And there was a certain process they had to follow to become an MC.”

  (Jury Trial, Volume XV at 99.) After playing the recordings related the Next of Kin’s

  efforts to become a motorcycle club, he testified that at some point after the recordings,

  the Next of Kin received an MC patch, “[b]ut shortly after they put the MC patch on, they

  were patched over by the Vigilantes and NOK didn’t exist anymore.” (Jury Trial, Volume

  XV at 113.)

                ii. Testimony about Individuals and Terms

         Second, Agent Fleming’s testimony provided context to the recordings by

  informing the jury of his understanding of particular names and words, based on his

  personal knowledge of the Devils Diciples. For example, Agent Fleming testified that



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  “Barnyard” is the nickname of Paul Liss who is a member of a different motorcycle club

  (Dkt. # 1076, Pg. ID 6855) and “Little Jon or Lil Jon” is the nickname of Jonathan

  Chillingworth of the Devils Diciples California branch. (Id. at 6856.; see also id. at 6860,

  686-66 (identifying other members of the Devils Diciples).) He also testified that the

  term “Sportster” is a type of Harley Davidson motorcycle (id. at 6863) and that

  “Scooter’s old lady bar” refers to “the Lighthouse bar.” (Jury Trial, Volume XV at 101.)

         As discussed above, the government solicited testimony about Agent Fleming’s

  role in the investigation of the Devils Diciples and other motorcycle clubs that

  establishes how he has personal knowledge of the club’s members and lingo. In some

  instances, the government solicited additional foundational testimony from Agent

  Fleming. For example, before testifying that a “DD ring”—which was referenced in

  Exhibit T-254—is “a ring that’s presented to members based upon longevity in the

  [club],” Agent Fleming testified that he is familiar with DD rings because “[w]e’ve seized

  several of the DD rings. We’ve also seized paperwork related to the purchase of those

  rings.” (Dkt. # 1076, Pg. ID 6843.)

         When necessary, the court has directed the government to solicit additional

  foundation to demonstrate that Agent Fleming had the personal knowledge required

  under Rule 701 to provide testimony about the identity and role of individuals discussed

  in the recorded calls. For example, after playing Exhibit T-328 to the jury, the

  government asked Agent Fleming if he was familiar with an individual discussed in the

  recording as “SA.” (Dkt. # 1076, Pg. ID 6871.) Agent Fleming identified “SA” as Smiley

  Villa. (Id.) The government asked if SA was a member of the Devils Diciples or a

  different organization. (Id. at 6871-72.) Defense counsel objected, and the court

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  requested additional foundation. Agent Fleming then testified that there are wiretap

  calls that will be played to the jury in which individuals discuss SA’s participation in a

  motorcycle club and he has spoken with individuals who will be testifying at this trial

  about SA’s membership in a particular motorcycle club.8 (Id. at 6872-73.)

         When the government was unable to establish a proper foundation for Agent

  Fleming’s testimony, the court sustained defense counsel’s objection. (See Jury Trial,

  Volume XI at 307 (concluding that sufficient foundation had not been laid for Agent

  Fleming’s testimony about the meaning of “33").)

                iii. Testimony about the FBI’s Activities

         Third, Agent Fleming’s testimony about the recordings provided helpful context

  by addressing the FBI’s responses to hearing the recordings, and thus assisting the jury

  in determining how the recordings relate to other evidence presented at trial. This

  testimony is distinguishable from the improper testimony in Freeman because it

  concerns the FBI’s investigative activities, not the content of the phone calls.

         For example, after the government published Exhibit T-260 to the jury, it solicited

  the following testimony from Agent Fleming:

         Q. . . . [D]o you as an investigator involved in listening to these calls have any
         concerns about any sort of threats against Mr. Burby at this point?

         A. Well, it’s clear reviewing the calls they are not very happy with Mr. Burby.
         They are not very happy with the fact that Michelle Richards is putting club
         information out there to non-club members.

         Q. And so as an investigator involved in real-time listening to these calls,
         what do you do? What steps do you take?

         A. Well, eventually, we go out and talk to Mr. Burby and let him know about
         threats against him, but not initially at this point.


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        Q. So initially, at this point, do you have concerns or elevated concerns or
        just sort of in the background?

        A. Well, we have concerns. We’re listening to the phone calls, but we have
        to balance that with our ongoing investigation. It didn’t appear, at least
        initially, that it was going anywhere other than talk at first.

        Q. All right. Did there come a time where that feeling changed, as an
        investigator?

        A. It did, yes.

  (Dkt. # 1076, Pg. ID 6844-45.)

        Similarly, after playing a number of recordings to the jury, the government

  engaged in the following dialogue with Agent Fleming to place the phone calls in

  context with the other components of the FBI’s investigation:

        Q. Now, Special Agent Fleming, the calls that we’ve played so far, would
        you describe them as relating mostly to Mr. Burby?

        A. That’s correct.

        Q. Now, from an investigative point of view, when you’re listening to these
        calls in real time, is there a progression of sorts from the beginning of the
        calls we played until the call that we’re at right now? What are you, what
        are you interpreting from an investigative standpoint? What is your
        next step?

        A. Well, it’s clear that they feel that Mr. Burby had something to do with
        the search warrants that we conducted on September 23rd of 2008. At this
        point, we are just monitoring the Title III to see what information we can
        learn about that.

        Q. And that’s something that’s done on an ongoing basis, in real time?

        A. That’s correct.

        Q. Now, at this point, as of September 23rd of 2008, have you had any
        interviews of Mr. Burby regarding any of the activities that we’ve been
        talking about during the course of these few weeks in the wiretap?



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         A. Not regarding, no, not regarding the substance of these Title III phone
         calls, no.

         Q. Is he a cooperator at this point?

         A. He is not.

         ...

         Q. So when these calls are being monitored in real time, and there’s talk
         about Mr. Burby being a snitch, is that, in fact, not accurate from an
         investigative standpoint?

         A. No. He was not an informant for the FBI.

  (Dkt. # 1076, Pg. ID 6868-70.)

         D. Opinion Testimony about the Content of Recordings

         Last, Agent Fleming testified about his opinion of the meaning of certain

  conversations and statements in the recordings. As discussed in Part I, this testimony

  is distinguishable from the improper testimony in Freeman because (1) it is based on

  personal knowledge; (2) the court instructed the jury that it is the jury’s responsibility

  alone to draw conclusions about the meaning and significance of the recordings; and (3)

  the jury was informed of the bases for Agent Fleming’s testimony, making it possible for

  the jury to evaluate the reliability of his testimony.

         Additionally, Freeman’s holding prohibiting unfounded lay testimony opining

  about the meaning of recorded conversations only concerns conversations involving

  “ordinary language.” The Freeman court approvingly cited to the concurring opinion in

  United States v. Hampton, 718 F.3d 978 (D.C. Cir. 2013) (Brown, J., concurring), in

  which Judge Brown found problematic an FBI agent’s testimony about “the meaning of

  ordinary—albeit cryptic—recorded language,” but clarified that “a lay witness with


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  personal knowledge of a particular drug conspiracy may testify on the meaning of coded

  language specific to that conspiracy.” Id. at 985. To the extent that Agent Fleming’s

  testimony about the meaning of certain recordings involves the interpretation of “coded

  language” instead of ordinary language, Freeman would not be implicated.

        Below are summaries of Agent Fleming’s testimony about his opinion of the

  meaning of certain recordings that arguably involve the interpretation of “ordinary

  language”:

        !      Agent Fleming testified that a number of recordings were related to
               Vicodin. (Jury Trial, Volume XVI at 216-40; Jury Trial, Volume XVII
               at 9-21.) Likewise, he testified that the phrase “getting them out” as
               used in the wiretapped calls “means Mr. Darrah has a prescription
               of Vicodin to pick up at the pharmacy”9 (Jury Trial, Volume XVI at
               230.)

        !      After playing Exhibit T-321 to the jury, the government asked Agent
               Fleming if he had an understanding of the meaning of the phrase “I
               gave you the key to that house,” as used in the recording, “based
               upon [his] interviews of individuals in this particular case.” (Dkt. #
               1076, Pg. ID 6866-67.) Agent Fleming responded, “Mr. Vandiver was
               given a key to the Blue Water clubhouse by Mr. Darrah.” (Id. at 6867.)
               He then testified that “Mr. Vanvider and Ms. Franks were making meth
               at the Blue Water clubhouse.” (Id. at 6868.)

        !      Agent Fleming testified that his understand of the phrase “being done”
               as used in Exhibit T-291 meant “[o]ut of the club, leaving the club.”
               (Dkt. # 1076, Pg. ID 6855.)

        !      Before the government played a series of recordings to the jury,
               Agent Fleming testified that “[i]t’s a series of calls between Mr.
               Darrah and Bob Mickelson, who goes by Biker Bob, regarding a
               Devils Diciple Raymond Melioli, who went by ‘Romeo,’ and the fact
               that Mr. Melioli was being disorderly.” (Jury Trial, Volume XV at
               114.)

        !      The government asked Agent Fleming about his understanding of
               Wayne Werth’s comment, in Exhibit R-11, “Did you ever tell Ronnie
               that, to keep an eye on him?” (Jury Trial, Volume XV at 83, 86.)
               Agent Fleming answered that he understood the reference to

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                      “keep[ing] an eye on him” to be “talking about Ronald Roberts
                      keeping an eye on Christopher Cook.” (Jury Trial, Volume XV at
                      88.)10

            Below are summaries of Agent Fleming’s testimony about his opinion of the

  meaning of “coded language”:

            !         Agent Fleming testified that the phrase “getting your eye dotted”
                      “means to punch somebody in the eye.” (Dkt. # 1076, Pg. ID 6877.)

            !         After playing Exhibit T-287 to the jury, the government established
                      that Agent Fleming had heard the phrase “bring all his shit” during
                      his interviews with Danny Burby and other members of the Devils
                      Diciples. (Dkt. # 1076, Pg. ID 5860.) Agent Fleming then testified
                      that he understands this phrase to be used “for a member who is
                      leaving the club in bad standing, meaning they have to bring back
                      all of their Devils Diciples stuff and their motorcycle and give it to
                      the club.” (Id. 6851.)

            !         He testified that the word “vikes,” as used in Exhibit T-270, is “a
                      street word for Vicodin.”11 (Jury Trial, Volume XVII at 40.)

                                                         III. Conclusion

            Agent Fleming’s testimony related to the recordings is distinguishable from the

  improper testimony in Freeman and admissible under Rule 701. Accordingly,



            IT IS ORDERED that Agent Fleming’s testimony is admitted subject to the

  limitations and rulings as explained on the record and in this opinion.


                                                               s/ Robert H. Cleland
                                                               ROBERT H. CLELAND
                                                               UNITED STATES DISTRICT JUDGE


  Dated: December 22, 2014



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  I hereby certify that a copy of the foregoing document was mailed to counsel of record
  on this date, December 22, 2014, by electronic and/or ordinary mail.


                                                                S/Lisa Wagner
                                                               Case Manager and Deputy Clerk
                                                               (313) 234-5522




  1. The court provided the jury with the following instructions regarding Agent Fleming’s
  testimony:

            I’ll probably repeat my concluding instructions maybe a few more times
            during the trial. But the testimony of Agent Fleming testifies in the past, or
            will testify now I think about certain facts, certain things that happened, as
            well as providing certain opinions. One example of that is what does the letter
            “CI” stand for; that’s jargon inside the law enforcement community,
            confidential informant. So some of this testimony is in the form of opinions or
            conclusions that the witness says that he draws from various kinds of
            evidence that he’s examined, things that he’s become aware of. These are
            two different kinds of testimony, fact testimony and opinion testimony. In
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            terms of the testimony on facts, just like any other witness, you should
            consider the ordinary factors that I talked with you about very, very briefly at
            the beginning of the case for considering the reliability of fact witnesses,
            consider such things as the witness’s -- and this applies not to just this
            witness, all witnesses who testify about facts, the witnesses earlier today
            included. Consider things like the witness’s ability to see and to remember
            the facts; the quality of the memory the witness had; whether there was
            anything else that interfered with the witness’s memory; how the witness
            acted while testifying. If he or she had anything to gain or lose that might
            influence the witness’s testimony. If a witness had any apparent bias,
            prejudice, reason for testifying, that might influence the witness. And if the
            witness testified perhaps inconsistently from time to time, those are all
            ordinary things that the jury would consider in evaluating fact witnesses.
            Now, as to the testimony of Agent Fleming or anybody else that might offer
            opinions based upon the witness’s review of what may be perhaps
            voluminous or complex facts, please bear in mind that you do not have to
            accept Agent Fleming’s opinions or conclusions that he draws from other
            facts. They are his interpretation. Similar, actually, to the interpretation that’s
            provided to the jury, to all juries frequently, by way of transcripts of
            recordings. The recording is the evidence. The transcript is an interpretation
            that’s presented to assist the jury in that regard. So in deciding how much
            weight or how much substance to give Agent Fleming’s opinions or
            interpretations, you should consider, among other things, how he reached his
            conclusions, along with other factors described for weighing the credibility of
            the witnesses, the reliability of the testimony provided such witnesses. And
            again, ultimately remember that it’s you alone, it’s the jury alone that decides
            how much of a witness’s testimony to believe, how reliable that, that witness
            is deemed to be, and how much weight that testimony deserves.

  (Dkt. # 1075, Pg. ID 6744-46.)

         Later during the trial, after Agent Fleming testified that he understood a particular
  recording to be related to Vicodin, the court reemphasized:

            That sort of comment . . . is ultimately a conclusion to be drawn by the jury,
            whether the conversation did, in fact, involve drug-seeking or drug
            transactions or other behaviors. That’s a conclusion that only the jury can
            draw. The witness is suggesting that, from his review, apparently, of the
            evidence that it is oriented in that way. But that’s, that’s just a -- that I take as
            nothing more, and the jury should take as nothing more than a suggestion of
            the content of this conversation. Again, it is the jury’s determination that
            counts with respect to whether this conversation relates to what the
            Government suggests it does. You may proceed with it on that basis and with
            that sort of cautionary instruction, not specifically requested, but I think
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            appropriately given.

  (Jury Trial, Volume XVI at 218-19.)

          Similarly, when defense counsel objected to Agent Fleming’s testimony that
  Exhibit T-311 “related to the manufacturing of methamphetamine involving Mr. Vandiver
  and Mr. McGowan” (July Trial, Volume XI at 43), the court noted that the foundation for
  this testimony was Agent Fleming’s discussions with Jaime Frank and restated that:

            Obviously, the conclusion is up to the jury as to whether these things do or
            do not relate and how they relate and what significance they have. But at
            least for the purpose of orienting the jury, for the purpose of playing the
            stipulated sound recordings, that statement is, in my view, unobjectionable.
            It’s not introduced in order to assert the truth of the matter, but more to
            orient the parties and the jury, in my opinion. And on that basis and with that
            limitation, you can proceed.

  (Jury Trial, Volume XI at 43.) Defense counsel then objected to this testimony as to
  relevancy. The court explained why the testimony was relevant, and reiterated, “Once
  again, the ultimate -- the significance of these things is completely up to the jury, not up
  to any particular witness to assert. (Jury Trial, Volume XI at 44-46.)
         The court also reinforced that it was the responsibility of the jury—not Agent
  Fleming—to determine the meaning of the recordings when defense counsel objected
  to Agent Fleming testimony that Exhibit T-321 related to the arrest of Jaime Franks and
  Cary Vandiver:

            I’m going to overrule the objection. Once again, reminding the jury that
            whether any such matters, in fact, are related, whether they are preceding or
            simultaneous with or after an event in question is entirely up to the jury. The
            jury will find the facts. The witness may state impressions, based upon his
            examination and fairly extensive knowledge of the, of the evidence gathered
            and the contents of tape recordings that have been made and are being
            offered for the jury. The witness may state his impression as to how these
            things, he suggests, are related. But the ultimate determination is absolutely
            up to the jury, irrespective of what this or any witness may state or what an
            attorney may argue.

  (Jury Trial, Volume XI at 47-48.)

  2. The transcripts were not admitted as substantive exhibits; they were admitted as aids
  in the understanding of the recorded conversations. (Dkt. # 1073, Pg. ID 5973.)

  3. At another point during trial, the government solicited additional testimony about
  Agent Fleming’s personal knowledge of the phone calls. Agent Fleming testified that he

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  listened to the intercepted phone calls over the course of the wiretap and “reviewed all
  of the calls [in connection with Paul Darrah’s wiretap] at least once, some of the calls
  multiple times” prior to testifying. (Dkt. # 1076, Pg. ID 6835.) He testified that he had an
  opportunity to familiarize himself with the voices heard during the course of the wiretap
  “[t]hrough either previous contact with some of them; through the subscriber information
  for the telephone that was intercepted, it would come back to a particular person and
  through the investigation of this case.” (Dkt. # 1076, Pg. ID 6845.) Agent Fleming also
  listened to “many” phone calls in which the caller identified himself or herself, and he
  had personal contact with many of the individuals recorded by the wiretaps. (Dkt. #
  1076, Pg. ID 6836-37.)

  4. Agent Fleming stated, “[a]t the beginning or prior to the meeting, Mr. Rich and Mr.
  Pizzuti met, discussed a purchase, a future purchase of methamphetamine and what
  the price was going to be. And then Mr. Pizzuti went to the actual meeting that was run
  by Mr. Smith and Mr. Darrah.” (Id. at 5982.) After being advised by Pizzuti that the
  meeting was going to take place, “[j]ust like any other meeting, we prepared a recording
  device. We obtained the funds for the purchase of meth, if there was going to be one,
  which I don’t believe there wasn’t one that particular day. Activated the recording
  device, followed him to the location, watched him go in, and then drove away.” (Dkt. #
  1073, Pg. ID 5983.)

  5. Later during the trial, Agent Fleming testified that he conducted a search of Rich’s
  home on November 15, 2007 during which the FBI found the tailpipe discussed in the
  recording. (Jury Trial, Volume XI at 301.) The government introduced Exhibit 35-12,
  and Agent Fleming testified that it “is the tailpipe that was removed from Vern Rich’s
  motorcycle and it also includes a plug that was found inside the tailpipe.” (Id. at 301.)
  Agent Fleming provided further testimony related to how he developed his opinion that
  Exhibit 35-12 was a “fake” tailpipe, stating: “We had received information from sources
  that Mr. Rich was using a fake tailpipe to transport money and meth;” (Id. at 302) “it had
  a plug inside of it that wouldn’t have allowed exhaust to run through it and probably
  would have been a problem for the engine;” (Id. at 303); “[a]nd since it was plugged and
  couldn’t operate as a tailpipe, the other one was open, we believe this was the one that
  he was using.” (Jury Trial, Volume XI at 303.) Last, the government also introduced as
  Exhibit 35-49 photograph of Vern’s motorcycle with Exhibit 35-12 attached to it. (Jury
  Trial, Volume XIV at 307-08.)

  6. (See, e.g., Dkt. # 1073 at 5989 (testifying that the first portion of Exhibit R-5 “was the
  discussion between the three of them of the purchase of methamphetamine”); id. at
  5992-93 (testifying as to the meaning of the recording’s reference to “taking someone’s
  center wheel:” “The center wheel is an indication of full membership. Oftentimes, if
  you’re punished, your center wheel is taken, and you become a prospect again.”); id. at
  5992-93 (stating that there is a Devils Diciples club in Arizona, “Swede” is a member of
  the Devils Diciples branch in Illinois, Devils Diciples’ “church meetings” were held
  weekly by some chapters and a couple times a month by other chapters); id. at 5996

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  (interpreting Vern Rich’s statement in Exhibit T-322 that “it’s here now” to mean “Mr.
  Rich is telling [John] Pizzuti [who was cooperating with the police] that he got a new
  shipment of methamphetamine that he has, and is willing to sell it”); id. at 5997 (opining
  that Exhibit T-33 is significant because in “[t]his conversation, Mr. Rich is telling Mr.
  Riede that he’s trying to make a sale of methamphetamine and that he wants to get the
  money to Mr. Riede before he leaves”); id. at 5998 (interpreting the discussion in Exhibit
  T-28 of “JP owing Vern some money” as follows: “What they are talking about is Mr.
  Darrah needs money or would like some money. Mr. Rich lets him know that he’s about
  to meet up with JP, clearly, to sell meth; and that some of that money could go to Mr.
  Darrah for gas to -- I believe he was going to a hospital to visit someone who was ill.”);
  id. at 6001-02 (describing Exhibit T-51 as follows: “Mr. Rich is telling Mr. Riede that he’s
  got a lot of money. When he uses the term, he wants to get this out of his pocket, he’s
  got a lot of money that he wants to get to Mr. Riede. And in the same token, when he
  says he probably wants to do that, do that again, meaning he needs to refresh his
  supply of methamphetamine that he can get from Mr. Riede. So he can kill two birds
  with one stone. If they meet, he can give him the money that he’s got that he owes Mr.
  Riede for methamphetamine. In return, Mr. Riede can give him additional
  methamphetamine. Mr. Riede says, ‘things are real right,’ meaning he’s fresh with
  methamphetamine and they can kill two birds with one stone.”); id. at 6003 (testifying to
  his opinion about the purpose of the communication in Exhibit T-52: “Mr. Pizzuti was
  just telling Mr. Rich that he wasn’t available to do the deal that night. And Mr. Rich lets
  him know that he’s going to see that other guy, meaning Mr. Riede, and then after, any
  time after that they can get together and do the deal.”); id. at 6003-05 (stating that the
  “deal” discussed in Exhibit T-52 occurred the following day, describing Pizzuti’s efforts
  to postpone the transaction until later in the day because he did not have the recording
  device or money when Rich wanted to “do the deal” earlier in the day, and describing
  his surveillance of Pizzuti during the deal itself ); id. at 6008 (interpreting the
  conversations in Exhibit T-55 as follows: “Mr. Rich confirms that he did a meth deal; that
  he’s got a lot of money to give Mr. Riede, triple what he gave him the day before. And
  he believes that by the time he’s done, he’ll have at least seven, meaning $7,000, to
  give to him”) id. at 6008-09 (providing background information about Devils Diciples
  members referenced in the call, such as identifying “Hombre” as Allen Paille and
  testifying that Paille has a history with methamphetamine, served prison for distributing
  methamphetamine, and is a longtime member of the Devils Diciples).)

  7. Agent Fleming testified that he was familiar with Jeff Smith’s voice “[t]hrough listening
  to the calls off this wire, and listening to his voice on other recordings” (id. at 6838); Paul
  Darrah’s and Cary Vandiver’s voices “from dealing with them, listening to other
  recordings, and listening to the wiretap,” (id. at 6840); Gary Nelson’s voice “from
  listening to the Title III and conversations with him” (id. at 6842); Shane Dinger from
  recorded conversations “on the Vern Rich wire[] and interviewing Mr. Dinger” (id. at
  6853); Tim Downs’ voice “[t]hrough listening to other calls on the Title III and actually
  talking to Mr. Downs” (id. at 6857); and Jeff Fetty’s voice “through the subscriber
  information to the call.” (Id. at 6859.)
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  8. Defense counsel also objected to questions about Agent Fleming’s understanding of
  who the president of the Next of Kin Motocycle Club was in September 2008. (Dkt. #
  1076, Pg. ID 6875.) Agent Fleming testified that his review of phone calls that will be
  played to the jury as well as his interviews of Scott Perkins, Smiley Villa, and others
  serve as the basis for his understanding of the identity of the president in September
  2008. (Id. at 6875- 76.) Based on this testimony, the court overruled the objection, and
  Agent Fleming identified the president of the Next of Kin Motorcycle Club in September
  2008 as Mark Wenglascz. (Id.)

  9. In addition to the previous testimony about his first-hand knowledge of the recordings,
  the Devils Diciples, and the investigation into the Devils Diciples, there was substantial
  additional testimony and evidence providing the basis for Agent Fleming’s testimony
  about the meaning of these recordings. Agent Fleming stated that his opinion was
  based on records he obtained from the Michigan Automated Prescription System
  (“MAPS”)—“a system that law enforcement can use to query if a person has picked up
  narcotic-related prescriptions or pain medication.” (Id. at 230-31.) During the following
  day of trial, the government admitted into evidence Exhibits 4-4 and 4-7 and a
  stipulation that those exhibits are records obtained from MAPS. (Jury Trial, Volume
  XVII at 21-23.) Agent Fleming testified that “Government’s Exhibit 4-4 is the MAPS
  report that we received from MAPS regarding Mr. Darrah and prescriptions for
  controlled substances” (id. at 23), and that “Government’s Exhibit 4-7 is a spreadsheet
  that was prepared by an FBI analyst that just breaks out the Vicodin or hydrocodone
  purchases by Mr. Darrah by date, when a prescription was filled, the quantity, which
  doctor, things along that -- those lines.” (Id. at 24.) According to Agent Fleming, the
  MAPS reports reflect that Darrah purchased 10,200 Vicodin pills between October 2003
  and February 2008. (Id.) Agent Fleming also testified that “[t]here were empty bottles
  that had Vicodin tickers on them, or prescription stickers for hydrocodone . . . , empty
  bottles with nothing in them . . . , [and] bottles that had some Vicodin in them” seized in
  connection with the search warrants discussed during trial. (Id. at 25-26.) The
  government then admitted into evidence Exhibits 35-1, 35-3, 35-4, and 35-7, which
  Agent Fleming testified are Vicodin pills found at Mr. Rich’s house during a search;
  Exhibit 35-6, which Agent Fleming testified is a “hyrocodone bottle with the prescription
  of Paul Darrah on it . . . found during the search of Vern Rich’s house;” Exhibit 34-8,
  which Agent Fleming testified “is an empty pill bottle and Vicodins that were recovered
  from Mr. Riede’s house during a search warrant;” Exhibit 42-1, which Agent Fleming
  testified were five empty bottles of Vicodin found at Darrah’s house including four with
  prescription labels to Darrah; Exhibit 42-2, which Agent Fleming testified “is another
  Vicodin pill bottle that contains three Vicodin in Mr. Darrah’s name;” Exhibit 42-2, which
  Agent Fleming testified is “an empty bottle of codeine in Mr. Darrah’s name;” Exhibit 43-
  1, which Agent Fleming testified is “a bottle of Vicodin that was located at Mr. Morocco’s
  house” Exhibit 49-1, which Agent Fleming testified “is a Vicodin that was located inside
  a Tylenol bottle” found at Tagliavia’s house; and Exhibit 49-2, which Agent Fleming
  testified was a pill—but not Vicodin—found at Tagliavia’s house. (Id. at 26, 28-30, 37-
  39.) The government also entered into evidence photographs that, according to Agent
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  Fleming’s testimony, depicted various bottles of Vicodin, hydrocodone, and codeine
  connected to Darrah. (Id. at 35-36.) Accordingly, the jury was presented with a
  substantial amount of evidence and testimony which it could use to discerningly
  evaluate the reliability of Agent Fleming’s opinion testimony and ultimately draw its own
  conclusions about the meaning of the recordings.

  10.Agent Fleming’s testimony about Exhibit R-11 was subject to other objections, as
  well. Defense counsel objected to the relevance of Exhibit R-11 because it was offered
  as relevant to Danny Burby but did not mention Burby. (Jury Trial, Volume XV at 83.)
  The government asked Agent Fleming to identify the reference to Burby in his opinion,
  and defense counsel again objected, arguing that his “interpretation is relying on his
  opinion of something that is not on the tape and displayed on the screen.” (Id. at 83-
  84.) The court overruled the objection. (Id. at 85.) Next, defense counsel objected to
  Agent Fleming’s testimony about the meaning Werth’s statement excerpted in the
  above text. The court overruled the objection, too. Last, the government asked, “And
  when Mr. Werth was talking about, ‘He’s the only one that night, you know what I mean,
  you know that he was fucking scared about,’ based upon, again, all of your investigation
  into this particular conversations with Mr. Burby and others, what is he referring to in
  that particular portion of the call, ‘that night’?” (Jury Trial, Volume XV at 88.) Defense
  counsel objected and the objection was overruled, but Agent Fleming did not answer
  the question. (Id. at 88-89.) At this point, defense counsel requested a standing
  objection “[t]o relevancy, 701, and hearsay.” (Id. at 90.)

  11. Testimony interpreting the meaning of drug slang is typically provided as expert
  testimony. See, e.g., Freeman, 730 F.3d at 598 (“An agent qualified as an expert may
  interpret coded drug language . . . .”); United States v. Daniels, 951 F.2d 350, at *3 (6th
  Cir. 1991) (unpublished table disposition) (“The district court did not abuse its discretion
  . . . by allowing [an] undercover agent . . . to testify as an expert on coded drug
  terminology . . . .”). However, the government asked Agent Fleming to provide this
  testimony “based upon the totality of the calls that we’ve heard.” (Jury Trial, Volume
  XVII at 40.) Thus, this testimony was based on his personal knowledge and not on his
  expertise and, therefore, may be given pursuant to Rule 701.




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